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                           UNITED TATE DI TRICT COURT

                                  DI TRICT OF OREGON

                                   PORTLAND DIVI IO


   ITED ST TES OF AMERICA                           3:20-cr-00205 - IM

              v.                                    INFORMATION

TAIMANE JAME TEO,                                        C.§ lll(a)
                                                    18 U..

              Defendant.


                      THE UNITED TATE ATTORNEY CHARGES:

                                          COUNT 1
                                {Assault on a Federal Officer)
                                   (18 U.. C.§ 11l(a){l))

       On or about July 6, 2020, in the District of Oregon, the defendant TAIMANE JAME

TEO did forcibly assault Adult Victim I (AV!), a person designated as a federal officer under

18 U.S.C. § 1114, while AV I was engaged in the performance of his official duties;

       Tn violation of Title 18 United States Code, ection 11l(a)(l), a class A misdemeanor.

Dated: July 6, 2020                                Respectfully submitted,

                                                    BILLY J. WILLJAM




                                                   Assistant United


Mi demeanor Information                                                                       Page l
                                                                                      Revised April 2018
